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				WITHDRAWN2021 OK CR 10Case Number: Decided: 08/31/2021
Cite as: 2021 OK CR 10, __  __

				

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	Citationizer© Summary of Documents Citing This Document
	
	
		
		Cite
		Name
		Level
		
	
	
	

Oklahoma Court of Criminal Appeals Cases
&nbsp;CiteNameLevel

&nbsp;2021 OK CR 21, STATE ex rel. MATLOFF v. WALLACECited
&nbsp;2021 OK CR 26, COLE v. STATECited
&nbsp;2021 OK CR 28, COLE v. STATECited


	
	
	Citationizer: Table of Authority
	
	
		
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		Name
		Level
		
	
	
	None Found.
	
	








				
					
					
				

		
		




	
		
			
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